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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                          X
                                                   INFORMATION
 UNITED STATES OF AMERICA
                                                   23 Cr .
             - v. -

 MARK O' MARA ,

                      Defendant .

                                          X


                                       COUNT ONE

                              (Federal Program Fraud)

     The Un i ted States Attorney charges :

                                       OVERVIEW

     1.     From   in    or    about    October    2012      through   in   or   about

November 2012 ,    the    East Coast of the          United States was hit by

Hurricane   Sandy ,     the    second- largest Atlantic         storm in recorded

history at that time.            On or about October 30 ,         2012 ,    President

Barack Obama declared Hurricane Sandy a major disaster in New York ,

which made federal fund i ng available to New York state and l ocal

governments for Sandy-related recovery efforts .

     2.     In the aftermath of Hurricane Sandy ,                from in or about

2 0-1 T t6 in or about- 2019 , the City of New York ( the " City" ) received

at least approximately $9 . 8 billion in federal f unding to spend on

Hurricane Sandy- related recovery .           The City used certain of these

federal funds to hire a private company ("Company- 1 " ) , a consu l ting
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firm based in Illinois , to assist with Sandy recovery efforts (the

"Sandy Project " ).

       3.      Between at least in or about 2013 and in or about 2019,

MARK    O' MARA ,    the   defendant ,   worked    for    Company- 1   to   provide

services to the City on the Sandy Project.                    While working for

Company-1 , between in or about 2013 and in or about 2019 , O' MARA

engaged in a scheme to defraud the City by submitting fraudulent

information and documents , including a fraudulent lease agreement,

to the City via Company- 1 in order to obtain lodging reimbursements

from the City to which he knew he was not entitled.                Between in or

about 2017 and in or about 2019 , O'MARA also conspired with others

to defraud the City,           i ncluding another consultant at Company- 1

( " CC - 1")   and CC-1 ' s   family member   ( "CC-2")    by falsely claiming

that he was residing in an apartment purchased by CC - 2 at CC - l ' s

direction .       O'MARA fraudu l ently obtained more than approximately

$250 , 000 from the City via Company- 1 as a result of these schemes .

       4.      In or about February 2020 , when the City began raising

concerns about Company - l ' s travel reimbursements , O' MARA destroyed

relevant emails and other communications to cover up the fraud.

                              STATUTORY ALLEGATIONS

       5.      From at least in or about March 2013 up to and including

at least in or about August 2019 , in the Southern District of New

York and elsewhere , MARK O' MARA , the defendant , being an agent of

an organization , and of a local government , and an agency thereof ,


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embezzled ,     sto l e , . obtained     by       fraud ,    and    otherwise    without

authority knowingly converted to the use of a person other than

the rightful owner and intentionally misapplied , property that was

valued at $5 , 000 and more , and was owned by , or was under the care ,

custody , and control of such organization , government , and agency ,

while the organization , government , and agency was in receipt of ,

in a one year period , benefits in excess of $10 , 000 under a Federal

program involving a        grant ,     contract ,       subsidy ,    loan ,   guarantee ,

insurance , and other form of Federal assistance ,                    to wit , O' MARA ,

who worked for Company- 1 to provide servi ces to the New York City

Office of Management and Budget ("NYC- OMB " ) , submitted fraudulent

reimbursement requests to NYC-OMB via Company- 1 to obtain housing

reimbursements      to   which he       knew      he   was   not    entitled and    that

totaled over approximately $250 , 000 .

          (Title 18 , United States Code , Sections 666 and 2. )

                                       COUNT TWO

                    (Wire Fraud in Connection with a
                 Presidentially Declared Major Disaster)

              The United States Attorney further charges :

     6.       The allegations set forth in paragraphs One through Four

are incorporated by reference as if set forth fully herein .

     7.       From at least in or about March 2013 up to and including

at least in or about August 2019 , in t he Southern District of New

York and elsewhere , MARK O' MARA , the defendant , having dev i sed and



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intending to devise a                scheme and artifice to defraud ,                   and for

obtaining money and property by means                            of false     and    fraudulent

pretenses ,        representations , and pr omises ,               transmitted and caused

to     be    transmitted        by      means     of    wire ,     radio ,   and     television

communication in interstate and foreign commerce , writings , signs ,

signals , pictures , and sounds,                  for the purpose of executing such

scheme and artifice , which v iolation occurred in relation to, and

involved           a      benefit       authorized ,       transported ,           transmitted ,

trans f erred ,           disbursed ,      and     paid      in      connection        with ,     a

presidentially declared major                     disaster        and   emergency ,     to    wit ,

O' MARA          electronically          submitted        misleading         and     fraudulent

reimbursement             requests   to NYC - OMB        ( in New York ,      New York )        via

Company-1          ( in     Illinois )     that        misrepresented        the     amount      of

reimbursements to which he was entitled , that he was eligible for

reimbursement as a non - resident of New York City , or that he was

residing in the apartment for which he submitted reimbursement

requests , during O' MARA's work for and on behalf of the City as

part        of     its      recovery      efforts        after       Hurricane        Sandy ,     a

presidentially declared major disaster .

            (Title 18~ United States Code , Sections 1343 and 2;
              Title 42 , United States Code , Section 5122(2) . )
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                                         COUNT THREE

      (Conspiracy to Commit Federal Program Fraud and Wire Fraud)

       The United States Attorney further charges :

       8.      The allegations set forth in paragraphs One through Four

are incorporated by reference as if set forth fully herein .

       9.      From at least in or about March 2013 up to and including

at least in or about October 2019 , in the Sout hern Di strict of New

York and elsewhere , MARK O' MARA ,                     the defendant , and others known

and    unknown,         willfully       and        knowingly     did     combine ,       conspire ,

confederate ,       and agree          together and with               each other        to    commit

offense s aga ins t the Un i ted States , to wit , to (a) commi t                             fed er al

program       fraud ,    in    v i o lati on       of   Title   18 ,    United     States       Code ,

Section 666 ; and (b)            commit wire fraud , i n violation of Title 18 ,

United States Code , Section 1343.

       10 .    It was a part and an object of the conspiracy that MARK

O' MARA , the defendant , and others known and unknown, being an agent

of    an    o_rganization,       and    of     a    local    government ,        and an        agency

thereof ,      would     and    did    embezzle ,         steal ,      obtain    by     fraud ,    and

otherwise without             authority        knowingly convert            to    the    use      of   a

person other than the r1gntful owner and intentionally misapply ,

property that was valued at $5 , 000 or more , and was owned by , or

was under the care ,             custody ,         and control of such organization ,

government ,      and agency ,         while the organization ,                 government ,       and

agency was in receipt of , in a one year period , benefits in excess


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of $10,000 under a Federal program involving a grant,                 contract,

subsidy,     loan,   guarantee,    insurance,    and other form of Federal

assistance, in violation of Title 18, United States Code, Section

666.

       11.   It was a further part and an object of the conspiracy

that MARK O' MARA,      the defendant,       and others   known and unknown,

having devised and intending to devise a scheme and artifice to

defraud,     and for obtaining money and property by means of false

and fraudulent pretenses, representations, and promises, would and

did transmit and cause to be transmitted by means of wire, radio,

and television communication in interstate and foreign commerce,

writings, signs, signals, pictures, and sounds, for the purpose of

executing such .scheme       and artifice,      in violation of Title         18,

United States Code, Section 1343.

                                   Overt Acts

       12.   In   furtherance     of   the   conspiracy   and   to   effect   the

illegal objects thereof, MARK O'MARA, the defendant, committed or

caused to be committed the following overt acts, among others, in

the Southern District of New York and elsewhere:

             a.      Between in or about January 2017 and in or about

May 2017, despite owning and residing in a particular apartment,

O'MARA submitted reimbursement requests to Company-1 and NYC-OMB

approximately every month that falsely claimed he was still living

in a prior apartment .


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              b.   Between in or about August 2017 and in or about

August 2019 , O' MARA submitted fraudulent documentat i on to Company-

1 and NYC-OMB approximately every month ,                   including a fraudulent

lease agreement and a          fraudulent     "arm' s       length letter , "   for an

apartment in which he was not residing .

               (Title 18 , United States Code , Section 371.)

                                   COUNT FOUR

                          (Destruction of Evidence)

     The United States Attorney further charges :

     13 .     The allegations set forth i n paragraphs One through Four

are incorporated by reference as if set forth fully herein .

     14.      In or about February 2020 , MARK O' MARA , the defendant ,

knowingly altered ,     destroyed ,     mutilated ,         concealed ,   covered up ,

falsified ,    and made    a   false   entry    in      a    record ,   document ,   and

tangible object with the intent to impede , obstruct , and influence

the investigation and proper admi n i strat i on of a matter within the

jurisdiction of a department and agency of the United States , and

in relation to and contemplation of such matter or case , to wit ,

O' MARA destroyed emails and other evidence of his scheme to defraud

NYC - OMB , which was a matter within the jurisdiction of the United

States Attornei ' s Office f or the Southe r n Di strict of New York .

              (Title 18 , Uni ted States Code , Section 1519 . )




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                             FORFEITURE ALLEGAT I ON

     15.      As a result of committing the offenses alleged in Counts

One through Three of this Information , MARK O' MARA , the defendant ,

shall forfeit to the United States , pursuant to Title 18 , United

States Code , Section 981(a) (1) (C) and Title 28 United States Code ,

Section 2461 (c) ,      any and all property ,    real and personal ,     that

constitutes or is derived from proceeds traceable to the commission

of said offenses , including but not limited to a sum of money in

United      States     currency   representing   the    amount   of   proceeds

traceable to the commission of said offenses .

                          Substitute Assets Provision

     16 .     If any of the above - described forfeitable property , as

a result of any act or omission of the defendant :

             a.   cannot be located upon the exercise of due
             diligence ;

             b.    has been transferred or sold to , o r deposited
             with , a third person ;

              c.     has been placed beyond the jurisdiction of the

             Court ;

             d.      has been substantially diminished in value ; or

             e.      has been commingled with other property which

              cannot be subdivided wi thout difficulty ;

it is the intent of the United States , pursuant to Title 21, United

States   Code ,    Section 853 (p)   and Title   28 ,   United States Code ,
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Section 246l(c) ,   to seek forfeiture of any other property of the

defendant up to the value of the above forfeitable property.

            (Title 18 , United States Code , Section 981;
          Title 21 , United States Code , Section 853 ; and
           Title 28 , United States Code , Section 2461 . )



                                      DAMIAN WILLIAMS
                                      United States Attorney
